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Plaintiff/Petitioner
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                                                                           /s/ Mark K. Gyandoh
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                                                                              Merion Station, PA 19066
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                                                                            (717) 233-4101
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